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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO




 UNITED STATES OF AMERICA,                       )       CASE NO. 4:04 CR 245
                                                 )
                           PLAINTIFF             )       JUDGE PETER C. ECONOMUS
                                                 )
         v.                                      )
                                                 )
                                                 )       ORDER ACCEPTING PLEA
 LARRY MAYFIELD                                  )       AGREEMENT AND JUDGMENT
                                                 )
                           DEFENDANT.            )




         This matter is before the Court upon the Report and Recommendation, see (Dkt. #

 1169), issued by United States Magistrate Judge George J. Limbert regarding the plea hearing

 and the plea agreement of Larry Mayfield, which was referred to the Magistrate Judge upon the

 consent of the parties.

         On September 29, 2004, the Grand Jury for the United States District Court for the

 Northern District of Ohio issued a Superceding Indictment against the Defendant charging,

 inter alia violations of 21 U.S.C. § 843(b) (“Counts94, 122,155,186”), 21 U.S.C. § 841(a)(1)

 (“Count 17”), and 21 U.S.C. § 846 (“Count 1”). See (Dkt. # 84).         The Defendant and the

 Government subsequently entered into a plea agreement whereby the Defendant agreed to enter

 a plea of guilty to violating 21 U.S.C. § 846 (“Count 1”).

         The Defendant appeared before Magistrate Judge Limbert on August 31, 2005, 2005
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 for a change of plea hearing, represented by counsel, Attorney David Engler.         The Defendant

 thereafter entered a plea of guilty to Count 1, a violation of 21 U.S.C. § 846. Magistrate Judge

 Limbert received the Defendant’s guilty plea and issued a Report and Recommendation

 recommending that this Court accept the plea and enter a finding of guilty. See (Dkt. # 1169).

         Neither party objected to the Report and Recommendation during the ten days following

 its issuance.

         This Court has engaged in a de novo review of the record and hereby adopts the Report

 and Recommendation.         The Defendant was found to be competent to enter a plea.          The

 Defendant understood his constitutional rights. He is aware of the consequences of entering

 a plea. There is an adequate factual basis for the plea. Consequently, this Court finds that the

 plea was entered knowingly, intelligently, and voluntarily.

         The Court therefore approves the Defendant’s plea of guilty.             The Defendant is

 ADJUDGED guilty of Count 1 of the Superceding Indictment charging violations of                21

 U.S.C. § 846.

         IT IS SO ORDERED.




                                                   /s/ Peter C. Economus - October 3, 2005
                                                   PETER C. ECONOMUS
                                                   UNITED STATES DISTRICT JUDGE
